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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


In Re:                                                Bk. No. 19-35789

YOLANDA WATSON JOHNSON,                               Chapter 13

         Debtor.                                      OBJECTIONS TO
                                                      PROPOSED CHAPTER 13 PLAN
                                                      AND CONFIRMATION THEREOF

                                                      Confirmation Hearing –
                                                      Date: January 23, 2020
                                                      Time: 1:30 p.m.
                                                      Place: U.S. Courthouse
                                                             515 Rusk Ave.,
                                                             Courtroom 403
                                                             Houston, Texas


               B&B Funding, LLC, a creditor in the above-entitled Bankruptcy proceeding, its

assignees and/or successors in interest, holds a lien on the subject property generally described as

6203 Overdale Street, Houston, Texas 77087, and hereby submits the following objections to

the confirmation of that certain Chapter 13 Plan (the "Plan") proposed by Debtor:

                              IMPERMISSIBLE MODIFICATION

               Debtor’s proposed Plan attempts to modify Secured Creditor's original Note and

Deed of Trust, in direct violation of §1322(b)(2), which states that a Debtor may "modify the

rights of holders of secured claims, other than a claim secured only by a security interest in real

property that is the Debtor's principal residence". The Plan is calling for the Debtor to strip the

lien and deem it as unsecured.

               Secured Creditor has obtained its own valuation, which came in with a value of

$125,000.00. A copy of the Broker’s Price Opinion is attached hereto as Exhibit “A” and made

part hereof. The first lien is owed $74,904.65 according to their filed proof of claim. Based on
Secured Creditor’s valuation of the property there is equity. Therefore, Secured Creditor’s claim




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should be treated as secured. Secured Creditor objects to any valuation of the subject property to

the extent that it may modify its secured status.

                The subject loan matured on July 1, 2017, at which time becoming all due and

owing. Secured Creditor requests the Plan be amended to provide for the total claim amount of

$9,413.40 to be paid in full over the term of the Plan with interest.

                                           CONCLUSION

                Any Chapter 13 Plan proposed by Debtor must provide for and eliminate the

objections specified above in order to be feasible and to provide adequate protection to this

objecting Creditor. It is respectfully requested that confirmation of the Chapter 13 Plan as

proposed by Debtor, be denied.

                WHEREFORE, Creditor prays as follows:

                (1)   That confirmation of the proposed Chapter 13 Plan be denied.

                (2)   For attorneys' fees and costs incurred herein.

                (3)   For such other relief as this Court deems proper.

Dated: January 3, 2020                  By /s/ Gary F. Cerasuolo
                                          GARY F. CERASUOLO
                                        State Bar No. 00789927
                                        S.D. Tex. Bar No. 17704
                                        Smith & Cerasuolo, LLP
                                        7500 San Felipe, Suite 777
                                        Houston, Texas 77063
                                        (713) 787-0003
                                        (713) 782-6785 fax
                                        F.113-1566




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                                   CERTIFICATE OF SERVICE

                I certify that copies of the foregoing were served on the following Parties-in-Interest
by first class mail, postage pre-paid, or by E-Notice, on January 3, 2020.

Yolanda Watson Johnson
6203 Overdale St.
Houston, TX 77087

Alva Nell Wesley-Thomas
Attorney at Law
6161 Savoy
Ste 250
Houston, TX 77036

William E. Heitkamp
Office of Chapter 13 Trustee
9821 Katy Freeway
Ste 590
Houston, TX 77024

US Trustee
Office of the US Trustee
515 Rusk Ave
Ste 3516
Houston, TX 77002
                                                     /s/ Gary F. Cerasuolo




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